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                             UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF KENTUCKY
                              SOUTHERN DIVISION AT LONDON


  PHI HEALTH, LLC, and EMPACT MIDWEST LLC,
                                                               Case 6:22-cv-00095
                                   Plaintiffs,

       v.

  U.S. DEPARTMENT OF HEALTH AND HUMAN
  SERVICES, et al.

                                   Defendants.



      PLAINTIFFS’ RESPONSE TO DEFENDANTS’ NOTICE OF SUPPLEMENTAL
                               AUTHORITY

            Plaintiffs PHI Health, LLC and EMpact Midwest, LLC (“Plaintiffs”) respectfully submit

 this Response to Defendants’ Notice of Supplemental Authority (ECF 28).

            The revised regulations will result in relevant changes both to this lawsuit and to the

 District of Columbia case that features prominently in Defendants’ pending motion to transfer,

 Association of Air Medical Services et al. v. United States Dep’t Health and Human Services et

 al., 21-cv-03031-RJL (D.D.C.) (“AAMS”).

            Specifically, Plaintiffs intend to amend their Complaint in this matter in response to the

 revised regulations. Additionally, at the recent AAMS status conference, AAMS informed the D.C.

 court that AAMS is no longer pursuing its challenge to the “Part II” regulations, i.e., its challenge

 to the “QPA Presumption” that was vacated by the LifeNet court.

            Plaintiffs’ forthcoming amendment, and AAMS’s decision to no longer pursue a challenge

 to the “QPA Presumption,” are both likely to alter the “similarity of issues or claims at stake” in

 these two cases—a key element of Defendants’ motion to transfer. Baatz v. Columbia Gas

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 Transmission, LLC, 814 F.3d 785, 789 (6th Cir. 2016); see also Buff City Soap LLC v. Bynum,

 2:21-02462-JPM-CGC, 2022 WL 1285045, at *7 (W.D. Tenn. Apr. 29, 2022) (analyzing the

 claims in plaintiffs’ amended complaint to find that the first-to-file rule was “inapplicable” due to

 a lack of “substantial[] overlap” in claims in the amended complaint).

         Plaintiffs respectfully submit that it would be appropriate for this Court to delay any

 decision on Defendants’ motion to transfer until Plaintiffs have amended their complaint and the

 parties have had an opportunity to address both that amendment and the effect of AAMS’s decision

 to no longer pursue its challenge to the “QPA Presumption.”

 Dated: September 1, 2022                      Respectfully submitted,


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                                CERTIFICATE OF SERVICE

         I hereby certify that on this the 1st day of September, 2022, I electronically filed the
 foregoing Plaintiffs’ Response to Defendants’ Notice of Supplemental Authority with the Clerk of
 the Court by using the CM/ECF system, which will send notice of electronic filing to counsel of
 record.


                                                    /s/ Chrisandrea L. Turner
                                                    Counsel for Plaintiffs




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